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CERTIFICATE OF SERVICE

I, Lisa L. Coggins, Esquire, hereby certify that on this 13" day July, 2006, I caused one
copy of the foregoing Supplemental Sixth Interim Application For Compensation For Services
Rendered and Reimbursement of Expenses Incurred as Experts to the P.D. Committee during the
period October 14, 2004, through and including November 30, 2004, to be served upon the

following persons in the indicated manner:
SEE ATTACHED SERVICE LIST

Upon penalty of perjury I declare that the foregoing is true and correct.

/s/ Lisa L. Coggins
Lisa L. Coggins (No. 4234)

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